              Case
               Case22-60043
                    22-60043 Document
                              Document861-4
                                       843 Filed
                                            FiledininTXSB
                                                      TXSBon
                                                           on03/07/24
                                                              03/10/24 Page
                                                                        Page11ofof10
                                                                                   10




EXHIBIT 4                    IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION


     In re:                                                    )
                                                               )    Chapter 11
     FREE SPEECH SYSTEMS, LLC                                  )
                                                               )    Case No. 22-60043
                       Debtor                                  )
                                                               )

         CORRECTED1 DECLARATION OF ANNIE CATMULL PROPOSED BANKRUPTCY
                    COUNSEL AND DISCLOSURE OF COMPENSATION

     THE STATE OF TEXAS                           §
                                                  §
     COUNTY OF HARRIS                             §

            I, Annie Catmull, hereby submit the following statement of disinterestedness pursuant to
     Bankruptcy Rule 2014 and further declare, pursuant to 28 U.S.C. § 1746, that the following is true
     and correct, under penalty of perjury:

             1.       My name is Annie Catmull. I am over the age of 18 years, I am competent to make
     this declaration, and I have personal knowledge of the facts stated herein. Each and every
     statement contained herein is true and correct to the best of my knowledge, information and belief
     after a diligent inquiry.

             2.      I am an attorney at law, duly licensed to practice in the State of Texas and admitted
     to practice before the United States District Courts for the Southern District in the State of Texas.

           3.      I am employed (as of counsel) by O’Connor Wechsler, PLLC ( (“OWPLLC”),
     which maintains offices at 4400 Post Oak Parkway, Suite 2360, Houston, TX 77027.

            4.      I attended the S. J. Quinney College of Law at the University of Utah and graduated
     in 1995 and the same year the State of Texas licensed me to practice law.

             5.     As set forth in my attached CV (supplemented and corrected, but otherwise the
     same as the CV attached to the Application), I have extensive experience in chapter 11 bankruptcy
     cases, including litigation therein.



     1
              The corrections are typographical except that I (1) added the text “He and I worked together in a few cases
     while I worked at Hoover Slovacek LLP” regarding the discussion of Walter Cicack, and (2) I corrected the years I
     worked for Shelby Jordan.
          Case
           Case22-60043
                22-60043 Document
                          Document861-4
                                   843 Filed
                                        FiledininTXSB
                                                  TXSBon
                                                       on03/07/24
                                                          03/10/24 Page
                                                                    Page22ofof10
                                                                               10


       6.      I am duly authorized to make and submit this declaration (“Declaration”) with
OWPLLC in accordance with 11 USC § 327 (a) and §327 (e) of the Bankruptcy Code and in
conjunction with Rule 2014(a) of Federal Rules of Bankruptcy Procedure. Neither I, nor
OWPLLC, represent any interest adverse to the above-captioned debtor, as required by 11 U.S.C.
§§ 327(a) and (e). Additionally, OWPLLC and I are disinterested persons, as defined by 11 U.S.C.
§ 101(14).



        7.          OWPLLC and I have identified the following connections with other parties in
interest:

        Party in Interest or its Connection
        Counsel
        Melissa  Haselden   and Melissa Haselden is the Subchapter V Trustee in this FSS case.
        HFPLLC
                                 First, between 2010 and 2017, I worked with Ms. Haselden at
                                 Hoover Slovacek LLP’s bankruptcy section then led by (now
                                 retired) Edward Rothberg.

                                             Second, Ms. Haselden was the Subchapter V Trustee in the
                                             bankruptcy case2 of Cypress Creek Emergency Medical Service,
                                             Inc., case no. 21-33733, in which I represent the chapter 11
                                             debtor, and the liquidating trustee (J. Patrick Magill, the CRO in
                                             the FSS case) who I also represent. This case is largely wound
                                             down.

                                             Third, Ms. Haselden represents a non-debtor affiliate of the
                                             chapter 11 debtor, All Texas Electrical Contractors, Inc., case no.
                                             20-34656, wherein I represent the debtor. This case is largely
                                             winding down.

                                             Fourth, Ms. Haselden and I were co-counsel for the unsecured
                                             creditors committee, and now are co-counsel for the liquidating
                                             trustee, in the (largely wound down) chapter 11 bankruptcy case
                                             of John Daugherty Real Estate, case no. 20-31293.

                                             Fifth, OWPLLC and I represented Ms. Haselden and HFPLLC in
                                             discrete litigation in the chapter 11 bankruptcy case 11500 Space
                                             Center 21-32299. Post-confirmation, Catmull and OWPLLC
                                             also represented the debtor in a contested matter.

                                             Sixth, I represented the owner of the chapter 11 debtor known as
                                             Midway Oilfield Constructors, case no. 18-34567. Ms. Haselden
                                             (and at first, Hoover Slovacek, and later at HFPLLC) represented
                                             the debtor.


22
     All bankruptcy cases mentioned herein are Southern District of TX cases unless otherwise indicated.
       Case
        Case22-60043
             22-60043 Document
                       Document861-4
                                843 Filed
                                     FiledininTXSB
                                               TXSBon
                                                    on03/07/24
                                                       03/10/24 Page
                                                                 Page33ofof10
                                                                            10


     Party in      Interest or its Connection
     Counsel
                                         Seventh, OWPLLC represents the owner of Burnside Services,
                                         Inc., a chapter 7 debtor in bankruptcy case no. 22-31458. Ms.
                                         Haselden and HFPLLC represent the debtor.

                                         Eighth, OWPLLC represented the chapter 11 debtor as co-
                                         counsel to Ms. Haselden and HFPLLC in the chapter 11 case of
                                         United Engineers, bankruptcy case no. 23-33166.

                                         Ninth, Ms. Haselden and I occasionally consult one another in
                                         matters that are not public.

                                         Tenth, I consider Ms. Haselden, and her partner, Elysse Farrow,
                                         social friends.
     J. Patrick Magill                   Mr. Magill is the CRO for the debtor, FSS.

                                Mr. Magill was also the court-appointed CRO in the bankruptcy
                               case of Cypress Creek Emergency Medical Service, Inc., case no.
                               21-33733, in which I represent the chapter 11 debtor. Mr. Magill
                               is now the liquidating trustee in the case and I represent him in
                               that capacity.
     Ha M. Nguyen and Jason B. These individuals are identified as counsel for the U.S. Trustee
     Ruff                      and have appeared in this case. We have appeared in some of the
                               same bankruptcy cases in the last few years.
     Stephen Lemmon            Stephen Lemmon represents PQPR Holdings Ltd. in the FSS
                               bankruptcy case.

                                         I have known, and known of, Mr. Lemmon for at least 20 years.
                                         To my recollection, we have represented parties in the same cases
                                         in a Corpus Christi oil and gas case bankruptcy case in 1999-
                                         2000, the bankruptcy case of Cody Smith, more recently,
                                         represented partially aligned parties in the 2017 bankruptcy case
                                         of Advantage Energy Joint Venture, and a related bankruptcy
                                         case of the debtor’s principal.

                                         Mr. Lemmon and I occasionally refer each other business. And
                                         as it happens, we attended the same high school, though during
                                         different years.

     Vianey Garza                        Ms. Garza is counsel for the U.S. Trustee who has not appeared
                                         in this case.

                                         She joined Hoover Slovacek shortly after I departed from that law
                                         firm. Also, in the past, for several years Ms. Garza and I were
                                         board members and officers together for the Arthur-Moller Inn of
                                         Court.3 I consider her a social friend.

3
 Ms. Haselden and other bankruptcy attorneys in this case have been and may still be members of the Arthur
Moller Inn of Court, and Ms. Haselden at one time was a board member.
          Case
           Case22-60043
                22-60043 Document
                          Document861-4
                                   843 Filed
                                        FiledininTXSB
                                                  TXSBon
                                                       on03/07/24
                                                          03/10/24 Page
                                                                    Page44ofof10
                                                                               10


        Party in Interest or its Connection
        Counsel
        Walter Cicack            Walter Cicack represents Cicack Holdings and Sweetwater
                                 Holdings in this case.

                                              He and I worked together in a few cases while I worked at Hoover
                                              Slovacek LLP between 2010 and 2017. I worked with Mr.
                                              Cicack for aligned parties in the 2015 bankruptcy case of
                                              Technicool Systems (and related litigation). Mr. Cicack and I
                                              represented adverse parties in the 2017 bankruptcy case of
                                              Advantage Energy Joint Venture, and a related bankruptcy case
                                              of the debtor’s principal.

                                              Mr. Cicack and I sometimes refer each other work.

        Federico Andino Reynal                 Mr. Reynal is litigation counsel for Alex Jones and FSS.

                                              Approximately 2013, I represented the debtor in the bankruptcy
                                              case of Mud King Products. Mr. Reynal represented partially
                                              aligned parties. Since that time, Mr. Reynal and I have
                                              occasionally worked together on cases (including the Courtland
                                              Energy bankruptcy case) and referred each other potential
                                              business. I have also informally assisted Mr. Reynal (through
                                              professional relationships) in connection with a creditor claim of
                                              less than $20,000 in a Delaware bankruptcy.

                                              In addition, before and after FSS’s bankruptcy filing, Mr. Reynal
                                              and I have had brief conversations about Alex Jones related
                                              litigation. In preparing for the application process, it occurred
                                              to me that one call included an out-of-state attorney who Mr.
                                              Reynal advised represents Alex Jones. The undersigned does not
                                              recall his name but allows that it may have been Norm Pattis.
        Shelby Jordan                         Shelby Jordan represents Alex Jones.

                                              During 1999 through approximately July of 2001,4 I was
                                              employed by Shelby Jordan’s Corpus Christi law firm, Jordan
                                              Hyden Womble. Mr. Jordan is Alex Jones’ counsel.
        Ray Battaglia                         I have known or known of, though not well, Mr. Battaglia for at
                                              least 20 years. He assisted me with a Western District subpoena
                                              project several years ago in a litigation matter.
        Kyung Lee                             Kyung Lee and his law firm were the original proposed counsel
                                              for FSS. I have known, and known of, Mr. Lee for at least 20
                                              years. We have been in a few bankruptcy cases together.

                                              I had occasion to interact Mr. Lee (in 2021) during OWPLLC’s
                                              representation of W. Marc Schwartz, in his capacity as a receiver
                                              appointed by the Judicial District Court of Harris County, TX,


4
    In error, the original declaration wrote “2021” rather than “2001.”
 Case
  Case22-60043
       22-60043 Document
                 Document861-4
                          843 Filed
                               FiledininTXSB
                                         TXSBon
                                              on03/07/24
                                                 03/10/24 Page
                                                           Page55ofof10
                                                                      10


Party in   Interest or its Connection
Counsel
                           including in the bankruptcy cases of Massood Danesh Pajooh,
                           U.S. Capital Investments, and County Investments LP.
W Marc Schwartz            I represented W. Marc Schwartz, in his capacity as a receiver
                           appointed by the Judicial District Court of Harris County, TX,
                           including in the bankruptcy cases of Massood Danesh Pajooh,
                           U.S. Capital Investments, and County Investments LP.
Mike Ridulfo               Mike Ridulfo appeared for W. Marc Schwartz in this case.

                           I have known Mike Ridulfo since approximately 1998 back when
                           I was practicing law in Corpus Christi. We have been in many
                           consumer and commercial bankruptcy cases together.
Marty Brimmage and the     Marty Brimmage and his law firm represent the committee in a
attorneys in this case     complex case pending before Judge Marvin Isgur, wherein a
employed by Akin Gump      chapter 11 plan has been recently confirmed. OWPLLC is
Strauss Hauer & Feld LLP   local counsel to the future claimants’ representative in that case.

Randy Williams             Randy Williams represents David Wheeler, et al, plaintiffs in
                           this case.

                           In the past Annie Catmull has represented Randy Williams, in
                           his capacity as chapter 7 trustee, in a handful of matters. We
                           have also appeared for separate parties in the same cases over
                           the years.

                           I currently represent Randy Williams as the chapter 7 trustee of
                           Gulfstream Trucking, LLC.



Harod “Hap” May            Hap May is the subject of FSS’s pending motion to employ
                           counsel at ECF # 809.

                           From January 2010 to September of 2017 I was employed by
                           the law firm of Hoover Slovacek. During some of those years
                           Hap May was affiliated with the firm. We worked together on a
                           handful of cases.



                           Since I left Hoover Slovacek, Hap May and I have occasionally
                           referred each other work. In addition, since 2017, a few times
                           (but not currently) I have been hired by entities in which he has
                           an interest to seek stay relief in real estate bankruptcy cases.
        Case
         Case22-60043
              22-60043 Document
                        Document861-4
                                 843 Filed
                                      FiledininTXSB
                                                TXSBon
                                                     on03/07/24
                                                        03/10/24 Page
                                                                  Page66ofof10
                                                                             10


       8.      The connection review is ongoing and this declaration will be supplemented if
additional connections are discovered.

        9.      This representation will include all matters relative to chapter 11 case
administration, including without limitation, preparing, implementing, and seeking approval of a
plan of reorganization, preparation of all reports required by law, responding to information
requests by the Office of the U.S. Trustee, responding to discovery requests, objections to claims,
dismissal disputes, preference actions, and other matters relative to claims asserted by creditors,
and related litigation.


          10.     In connection with this representation, OWPLLC will require a retainer of $75,000.

          11.  In connection with these services, Debtor will be required to pay OWPLLC on an
hourly fee basis. Hourly fees will be charged as follows:

    Professional                        Title                                  Rate
    Annie Catmull                       Of Counsel                             $500
    Kathleen O’Connor                   Principal                              $450
    Jeri Wechsler                       Of Counsel                             $350
    Paralegal services5                 Paralegal (this includes any           Between $150 and $250
                                        OWPLLC attorney whose
                                        particular     services   are
                                        properly billed as paralegal,
                                        rather than attorney).


        12.    In addition, OWPLLC will charge out-of-pocket expenses incurred in connection
with its engagement. The expenses will be charged as set forth below.

                Client Expenses                                    Hourly Rate
                Deliveries & Couriers                              At Cost
                                                                   At Cost (No Charge for
                Travel, Lodging and Meals*
                                                                   Non-Working Travel)
                Filing Fees & Misc. Expenses                       At Cost
                Contract Paralegals                                At Cost


         13.   Fee and expenses incurred by OWPLLC shall be billed against the retainer, subject
to final approval by order of this Court, after making appropriate application to this Court.



5
 Separately, OWPLLC occasionally engages contract paralegal services, which is billed at cost, usually $50 per
hour, but sometimes more, depending on the negotiated terms, skill set needed for the task, and any special timing
concerns.
      Case
       Case22-60043
            22-60043 Document
                      Document861-4
                               843 Filed
                                    FiledininTXSB
                                              TXSBon
                                                   on03/07/24
                                                      03/10/24 Page
                                                                Page77ofof10
                                                                           10


       14.      The undersigned further states that she has not shared, nor agreed to share with any
person, other than with members of the undersigned's firm, any compensation.

       15.      Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the
foregoing is true and correct to the best of my knowledge and belief.



Signed: March 7, 2024




                                                     Annie Catmull
        Case
         Case22-60043
              22-60043 Document
                        Document861-4
                                 843 Filed
                                      FiledininTXSB
                                                TXSBon
                                                     on03/07/24
                                                        03/10/24 Page
                                                                  Page88ofof10
                                                                             10




                                                                                                      Annie Catmull
                                                                                             aecatmull@o-w-law.com
                                                                                                Direct: 281-814-5977




       O’ConnorWechsler PLLC is a women-owned law firm with an emphasis on insolvency
law and commercial litigation, and with recognized skills in trial advocacy 1 and energy law.2



                   Kathleen O’Connor, J.D., South Tex. College of Law, `1995

         A native Houstonian, Kathleen O’Connor is a member of the American Board of Trial
Advocates, an invitation-only national association of experienced trial lawyers and judges. She
has taken 30 jury trials to verdict (civil and criminal), over 21 bench trials to verdict (criminal and
civil), and she has argued before the U.S. Court of Appeals for the 5th Federal Circuit and the 14th
Court of Appeals.

        In addition to managing all phases of litigation, she assists private companies in the
conduct of in-house investigations, responding to various governmental agencies, and with
employment and personnel matters under the EEOC, ERISA, FLSA, and FLMA. She is a
certified mediator.

       She graduated in the top 15 percent of her class at South Texas College of Law, was on
the Dean’s List and in the Order of Lytae (a fraternity that recognizes outstanding academic
achievement) and was editor of Corporate Counsel Review.

      Before attending law school, she taught business courses at Pasadena High School in
Houston, Texas.



                               Annie Catmull, J.D., Univ. of Utah, 1995

       Annie Catmull has more than 28 years’ experience in bankruptcy and insolvency law.
She represents distressed companies, their owners, creditors, trustees, landlords, tenants, asset
purchasers, and creditors’ committees. Her clients are in the energy (upstream, midstream,
energy services), manufacturing, real estate, telecommunications, shipping, healthcare,
construction, farming, and personal services sectors. Much of her practice is litigation related to
business reorganizations.

        President, Moller-Foltz, American Inn of Court, 2017-2018.

1
         Kathleen O’Connor is a member of the American Board of Trial Advocates, an invitation-only national
association of experienced trial lawyers and judges.
2
         Jeri Wechsler has an LLM in Energy and Natural Resources from the University of Houston.

                                                                                                               1
       Case
        Case22-60043
             22-60043 Document
                       Document861-4
                                843 Filed
                                     FiledininTXSB
                                               TXSBon
                                                    on03/07/24
                                                       03/10/24 Page
                                                                 Page99ofof10
                                                                            10




       Licensed in the U.S. Court of Appeals for the Fifth Circuit, and U.S. District and
        Bankruptcy Courts in the Southern, Northern, Eastern, and Western Districts of Texas.
       Licensed by the State Bar of Texas since November 1995.
       Externed for the U.S. Bankruptcy Court, District of Utah, 1995.



                               Sample of Bankruptcy Representations


In re HONX, Inc., complex chapter 11 case 22-90003 before the U.S. Bankruptcy Court,
Southern District of Texas, local counsel for the FCR.

In re Semco Manufacturing Company, Inc., case no. 22-70149, before the U.S. Bankruptcy
Court, Southern District of Texas, represented creditors who sought and achieved dismissal of
case with prejudice.

In re Cypress Creek Emergency Medical Services Assoc., case 21-33733 before the U.S.
Bankruptcy Court, Southern District of Texas, represents the debtor, chapter 11 plan confirmed
July 7, 2022

In re John Daugherty Real Estate, Inc., case 20-31293, before the U.S. Bankruptcy Court,
Southern District of Texas, represented the Office Committee of Unsecured Creditors, chapter 11
plan confirmed November 30, 2021.

In re All Texas Electrical Contractors, Inc., case 20-34656 before the U.S. Bankruptcy Court,
Southern District of Texas, represents the debtor, chapter 11 plan confirmed March 3, 2021

Cage v. WorldFab, Inc. (In re Technicool Sys.), Nos. 15-34435, 17-03265, 2018 Bankr. LEXIS
3376, (Bankr. S.D. Tex. Oct. 31, 2018)

Windmill Run Assocs. [client] v. Fannie Mae [opposing party] (In re Windmill Run Assocs.),
2017 Bankr. LEXIS 303 (Bankr. S.D. Tex. Jan. 31, 2017)

In re Windmill Run Assocs., 2016 Bankr. LEXIS 359 (Bankr. S.D. Tex. Feb. 4, 2016)

In re Mud King Prods. [client], 525 B.R. 43 (Bankr. S.D. Tex. 2015)


Schermerhorn v. Centurytel, Inc. (In re Skyport Global Communs., Inc. [client]), 2013 Bankr.
LEXIS 3218 (Bankr. S.D. Tex. Aug. 7, 2013), aff'd, 2016 U.S. App. LEXIS 4714 (5th Cir. Tex.
Mar. 14, 2016) and 2016 U.S. App. LEXIS 18412 (5th Cir. Tex. Oct. 12, 2016)


In re Anloc, LLC [client], 487 B.R. 825, 2013 Bankr. LEXIS 257 (Bankr. S.D. Tex., 2013), aff'd,
574 Fed. Appx. 401 (5th Cir. Tex. 2014)

                     4400 Post Oak Pkwy . Suite 2360   . Houston, TX 77027
       Case
        Case22-60043
             22-60043 Document
                       Document861-4
                                843 Filed
                                     FiledininTXSB
                                               TXSBon
                                                    on03/07/24
                                                       03/10/24 Page
                                                                 Page10
                                                                      10ofof10
                                                                             10




Baker Hughes Oilfield Operations, Inc. et al v. Union Bank of Cal., N.A. (In re Cornerstone
E&P Co., L.P.), 436 B.R. 865 (Bankr. N.D. Tex. 2010); same, 436 B.R. 830; and same 435 B.R.
390

In re Presto (Enron Employee Committee v Presto), 376 B.R. 554 (Bankr. S.D. Tex. 2007)




                              Recent Publications and Speeches


       "Civil Contempt" Harris County Civil District Judge's Retreat, August 2022

       “Key Bankruptcy Principles for Business Lawyers: Foundations and Emerging Issues,”
        Texas Bar CLE, 12th Annual Essentials of Business Law, Business Law Section, March
        2021

       “Bankruptcy Litigation in Houston: Tops Ten Dos, Don’ts, and Maybes,” Houston Bar
        Association, Corporate Counsel Section, April 2020

       “Ethics Rules: Lawyers & Landmen,” Houston Area Petroleum & Landmen, October
        2019

       “Bankruptcy Issues,” Houston Area Petroleum & Landmen, October 2018

       ‘Practitioner’s Guide to Rule 9011,” State Bar of Texas Annual Bankruptcy Conference,
        April 2018




                     4400 Post Oak Pkwy . Suite 2360   . Houston, TX 77027
